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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLORADO

                                 CASE NO.

MADISYN BROWN,

        Plaintiff,
v.

INSTITUTE FOR SHIPBOARD EDUCATION,
d/b/a “Semester at Sea”,

        Defendant.
                                                 /

                           COMPLAINT AND DEMAND FOR JURY TRIAL

Plaintiff hereby sues Defendant and alleges:

                                 PRELIMINARY ALLEGATIONS

     1. Plaintiff, MADISYN BROWN (hereinafter “Plaintiff”), is a resident of Georgia.

     2. Defendant, INSTITUTE FOR SHIPBOARD EDUCATION, d/b/a “Semester at Sea”

(hereinafter “Defendant” and/or “Semester at Sea”), is a Delaware corporation with its principal

place of business in Fort Collins, Colorado.

     3. The matter in controversy exceeds, exclusive of interest and costs, the sum specified by 28

U.S.C. § 1332. In the alternative, if diversity jurisdiction does not apply, then this matter falls

under the admiralty and maritime jurisdiction of this Court.

     4. At all times material hereto, Defendant, personally or through agent(s), maintained a

business with its headquarters in this state, transacted business, including entering into contracts,

within this state; owned, used and/or possessed real property situated in this state; contracted to




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insure property and/or against other risks within this state, and/or committed a tortious act from

and/or within this state.

      5. Additionally, this action is being pursued in this Court, as opposed to state court as

otherwise allowed by the Saving to Suitors Clause of 28 U.S.C. §1333, because Defendant

unilaterally inserts a forum clause into its ticket contract that requires its passengers, including

Plaintiff, to file cruise-related suits only in this Federal District and Division, as opposed to any

other place in the world.

      6. At all times material hereto, Defendant is subject to the jurisdiction of the courts of this

state.

      7. The causes of action asserted in this Complaint arise under the general maritime law of the

United States and/or the laws of Colorado.

                                   FACTS COMMON TO ALL COUNTS

      8. At all times material hereto, Defendant, Semester at Sea, owned, operated, managed,

maintained, controlled, and/or had exclusive custody of the M/V World Odyssey (hereinafter “the

vessel”).

      9. Semester at Sea is in the business of providing educational cruises, mainly for college

students.1

      10. At all times material hereto, Plaintiff was a fare-paying passenger aboard the vessel.

      11. Plaintiff sailed aboard the vessel from January to April, 2019 (hereinafter the “subject

voyage”).




1
    https://www.semesteratsea.org/ (last accessed December 13, 2019 at 7:46 a.m.).

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                      Promotional Material and Statements Disseminated by
                         Semester at Sea Concerning the Subject Voyage

    12. Prior to the subject voyage, Semester at Sea’s website contained information and

descriptions pertaining to the health resources and mental health care available aboard the vessel.

    13. Between August and December 2018, Plaintiff periodically and regularly reviewed the

promotional information and statements disseminated from Semester at Sea’s website concerning

the health resources and mental health care available aboard the vessel. Plaintiff relied on this

information and statements to her detriment in deciding to participate in the subject voyage.

    14. At all times material hereto, Plaintiff reasonably relied upon the information published by

Semester at Sea on its website because the Plaintiff knew of Semester at Sea’s reputation as an

educational cruise, due to its long-standing history of providing educational cruises for over fifty

(50) years,2 and therefore reasonably believed the information published on Semester at Sea’s

website was truthful and accurate.

    15. At all times material hereto, Plaintiff relied on Semester at Sea’s promotional material to

her detriment because, had she known Semester at Sea did not actively and/or adequately evaluate

and/or coordinate mental health care for passengers (including care of eating disorders) aboard the

vessel, nor respond to emergent mental health conditions – as Semester at Sea advertised on its

website – the Plaintiff would not have paid for and/or participated in the subject voyage.

    16. At all times material hereto, the information Semester at Sea made available on its website,

including information concerning the health resources and mental health care (including care for




2
 https://www.semesteratsea.org/contact/about-us/#the-history-of-shipboard-education (last accessed December 13,
2019 at 8:02 a.m.).

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eating disorders) available aboard the vessel, was disseminated from and/or approved by Semester

at Sea from its headquarters in Colorado.

    17. As part of its promotion of the subject voyage, Semester at Sea represented the following,3

as confirmed by the screenshot of Semester at Sea’s website depicted below:

        •     “On each voyage, Semester at Sea deploys, as part of the medical team, two licensed
              mental health cou[n]sellors responsible for coordinating, implementing and
              evaluating total mental health care and education for all passengers.”

        •     “The medical team responds to the routine and emergent health conditions of
              Semester at Sea participants and provides educational programming and outreach to
              the shipboard community as contributors to Pre-port briefings.”

        •     “This includes diagnostic assessment and short term clinical therapy in all areas
              of mental health. In addition to facilitating on-board support groups (e.g. alcohol
              abuse, eating disorders, etc.), voyage mental health professionals prepare educational
              programming and outreach to the shipboard community and are contributors to pre-
              port briefings.”

        •     “The health clinic on board the MV World Odyssey is among the most advanced
              medical facilities available on ocean-going vessels today. Voyage medical staff are
              U.S.-licensed health professionals. Personnel include at minimum:

                  o   A board-certified program physician
                  o   A board-certified program physician’s assistant or nurse practitioner
                  o   A certified ship’s physician
                  o   Two certified ship’s nurses”



                      [The remainder of this page has been intentionally left blank;
                                  screenshot to follow on the next page]




3
 https://www.semesteratsea.org/safety/during-the-voyage/ (last accessed December 13, 2019 at 7:48 a.m.) (emphasis
supplied).

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                                        The Subject Incident

   18. On or about October 31, 2018, and before boarding the vessel, Plaintiff disclosed to

Defendant that she had an “Eating Disorder.”

   19. On or about January 5, 2019, Plaintiff boarded the vessel.

   20. While aboard the vessel, Plaintiff suffered from her Eating Disorder (anorexia) and, as a

result, refrained from eating food and/or meals aboard the vessel.

   21. Plaintiff’s professors and/or the counselors aboard the vessel saw and/or interacted with

the Plaintiff on a daily and/or weekly basis aboard the vessel, and as such, had a sufficient

opportunity to observe the Plaintiff’s physical and mental state deteriorate throughout the voyage.

Had Plaintiff’s professors and/or the counselors aboard the vessel reasonably evaluated the

Plaintiff while aboard the vessel, they would have observed Plaintiff’s physical and mental state

rapidly deteriorate from the time of her boarding as a result of her disclosed Eating Disorder.

   22. In April 2019, Plaintiff’s mother realized the amount of weight the Plaintiff had lost aboard

the vessel and contacted a supervisor aboard the vessel to inform them of the Plaintiff’s

deteriorating condition. Several days later, Plaintiff medically disembarked the vessel.

   23. At the time Plaintiff medically disembarked the vessel, she weighed substantially less than

her pre-voyage weight.

   24. Defendant knew and/or reasonably should have known of the Plaintiff’s deteriorating

mental and/or physical condition while aboard the vessel for reasons that include, but are not

limited to:

       a. Plaintiff disclosing her Eating Disorder to Defendant pre-voyage;

       b. Plaintiff interacted with and/or was seen by her professors and the counselors aboard
          the vessel on a daily and/or weekly basis;



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       c. Plaintiff lost a substantial amount of weight at a rapid rate aboard the vessel from
          January to April 2019; and/or

       d. Defendant advertises the fact that there are “two licensed mental health cou[n]sellors
          responsible for coordinating, implementing and evaluating total mental health care and
          education for all passengers,” which includes the “evaluat[ion]” of “eating disorders”
          aboard the vessel, but the mental health counselors completely failed to evaluate and/or
          respond to the Plaintiff’s deteriorating mental and/or physical condition while she was
          aboard the vessel.

   25. Following this incident aboard the vessel, the Plaintiff was diagnosed with malnutrition,

severe anorexia, anxiety, osteopenia, suffered from respiratory complications and other damages.

                             COUNT I – GENERAL NEGLIGENCE

       The Plaintiff re-alleges, adopts and incorporates by reference the allegations in paragraphs

one (1) through twenty-five (25) as though alleged originally herein.

   26. At all times material hereto, it was the duty of Defendant to provide Plaintiff with

reasonable care under the circumstances.

   27. At all times material hereto, Defendant undertook and/or assumed the duty to provide

Plaintiff with mental health counseling, including but not limited to, the duty to provide Plaintiff

with counseling for her disclosed Eating Disorder.

   28. During the subject voyage, Defendant and/or its agents, servants and/or employees

breached its duties to the Plaintiff through the following acts and/or omissions:

       a. Failing to recognize, identify, evaluate and/or diagnose the Plaintiff’s deteriorating
          mental and/or physical condition aboard the vessel; and/or

       b. Failing to perform any diagnostic assessments and/or testing on the Plaintiff to
          recognize, identify, evaluate and/or diagnose the Plaintiff’s deteriorating mental and/or
          physical condition aboard the vessel; and/or

       c. Failing to coordinate and/or implement a mental health plan to monitor and/or treat the
          Plaintiff’s deteriorating mental and/or physical condition aboard the vessel; and/or




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       d. Failing to provide the Plaintiff with any short term clinical therapy in connection with
          the Plaintiff’s deteriorating mental and/or physical condition aboard the vessel; and/or

       e. Failing to respond to the Plaintiff’s deteriorating mental and/or physical condition
          aboard the vessel; and/or

       f. Failing to provide the Plaintiff with food and/or meals aboard the vessel that she could
          consume given her disclosed Eating Disorder; and/or

       g. Failing to accommodate Plaintiff in light of her disclosed Eating Disorder; and/or

       h. Failing to sufficiently inquire as to Plaintiff’s disclosed Eating Disorder in light of her
          pre-voyage disclosure of same; and/or

       i. Failing to adequately and/or properly consult documentation provided pre-voyage
          concerning the Plaintiff’s disclosed Eating Disorder; and/or

       j. Failing to conform to documentation provided pre-voyage concerning the Plaintiff’s
          disclosed Eating Disorder; and/or

       k. Breach of the duty of reasonable care for passengers with eating disorders, like the Plaintiff;
          and/or

       l. Failing to promulgate and/or enforce adequate policies and procedures for passengers
          with eating disorders, like the Plaintiff; and/or

       m. Failing to monitor, supervise, train, and instruct crewmembers and/or professors and/or
          counselors stationed aboard the vessel in recognizing, handling and/or responding to
          passengers with eating disorders, like the Plaintiff.

   29. The above acts and/or omissions caused and/or contributed to Plaintiff’s injuries because

the Plaintiff would not have suffered her injuries outlined above but for such acts and/or omissions.

   30. At all times material hereto, Defendant knew of the foregoing conditions causing Plaintiff’s

incident and resulting injuries and did not correct them, or the conditions existed for a sufficient

length of time so that Defendant, in the exercise of reasonable care under the circumstances, should

have learned of them and corrected them.

   31. As a direct and proximate result of the negligence of Defendant, Plaintiff was injured about

her body and extremities, suffered physical pain, mental anguish, loss of enjoyment of life,

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disability, disfigurement, aggravation of any previously existing conditions therefrom, incurred

medical expenses in the care and treatment of Plaintiff’s injuries, suffered physical handicap, lost

wages and Plaintiff’s working ability has been impaired. The injuries are permanent or continuing

in nature, and Plaintiff will suffer the losses and impairments in the future. In addition, Plaintiff

lost the benefit of Plaintiff’s education, cruise, and transportation costs.

       WHEREFORE, the Plaintiff demands judgment for all damages recoverable under the

law against Defendant and demands trial by jury.

                      COUNT II – MISLEADING ADVERTISING IN
                     VIOLATION OF COLORADO STATUTE § 6-1-105

       The Plaintiff re-alleges, adopts and incorporates by reference the allegations in paragraphs

one (1) through twenty-five (25) as though alleged originally herein.

   32. Between August and December 2018, Plaintiff reviewed Semester at Sea’s website prior

to boarding the vessel, including the information set forth in paragraphs 12-17 above, which was

disseminated from and/or approved by Semester at Sea from its headquarters in Colorado.

   33. At all times material hereto, Semester at Sea’s promotional material, including its website

referenced above, which Plaintiff reviewed, contained the statements and descriptions set forth in

paragraphs 12-17 above.

   34. At all times material hereto, Semester at Sea’s promotional material, including its website

referenced above and the statements contained therein, which Plaintiff reviewed, contained

misrepresentations of material facts, including:

       a. Mispresenting that “[o]n each voyage, Semester at Sea employs, as part of the medical
          team, two licensed mental health cou[n]sellors responsible for coordinating,
          implementing, and evaluating total mental health care and education for all
          passengers”; when in reality, the mental health counselors aboard the vessel do not
          coordinate, implement or evaluate the total mental health care of passengers, like
          Plaintiff; and/or


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        b. Misrepresenting that the mental health counselors stationed aboard the vessel have the
           ability and/or responsibility to perform “diagnostic assessment and short term clinical
           therapy in all areas of mental health. In addition to facilitating on-board support groups
           (e.g. alcohol abuse, eating disorders, etc.), voyage mental health professionals prepare
           educational programming and outreach to the shipboard community and are
           contributors to pre-port briefings”; when in reality, the mental health counselors fail to
           recognize, identify, evaluate and/or diagnose passengers’ mental health conditions (like
           the Plaintiff) and fail to perform diagnostic assessments and/or testing on passengers’
           with mental health conditions (like the Plaintiff) to recognize, identify, evaluate and/or
           diagnose passengers’ existing or deteriorating mental health conditions (like the
           Plaintiff); and/or

        c. Misrepresenting that the medical team (including the mental health counselors)
           stationed aboard the vessel “responds to the routine and emergent health conditions of
           Semester at Sea participants and provides educational programming and outreach to
           the shipboard community as contributors to Pre-port briefings”; when in reality, the
           medical team (including the mental health counselors) fail to recognize, identify,
           evaluate and/or diagnose passengers’ mental health conditions (like the Plaintiff) and
           fail to perform diagnostic assessments and/or testing on passengers with pre-existing
           and/or disclosed mental health conditions (like the Plaintiff) to recognize, identify,
           evaluate and/or diagnose passengers’ existing or deteriorating mental health conditions
           (like the Plaintiff).

    35. Pursuant to Colorado Statute § 6-1-105, Semester at Sea is responsible for the foregoing

 false and/or misleading advertisements because Defendant was in the business of providing

 educational cruises to passengers (like Plaintiff), including but not limited to the provision of

 mental health counseling during transit and/or obtained the benefits (including monetary) of the

 statements and/or advertisements outlined above.

    36. At all times material hereto, the foregoing statements Semester at Sea made and/or

 disseminated from its website were known, or through the exercise of reasonable care or

 investigation could or might have been ascertained, to be false and/or misleading. This knowledge

 was or should have been acquired through:

        a. Semester at Sea’s initial approval process and/or annual inspections of the mental
           health counselors stationed aboard the vessel, including, but not limited to, having
           Semester at Sea’s representative(s) participate in the voyage and performing
           inspections, which did or should have revealed: (1) the mental health counselors aboard

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            the vessel did not coordinate, implement or evaluate the total mental health care of
            passengers, like Plaintiff; (2) the mental health counselors fail to recognize, identify,
            evaluate and/or diagnose passengers’ mental health conditions (like the Plaintiff) nor
            perform any diagnostic assessments and/or testing on passengers’ mental health
            conditions (like the Plaintiff) to recognize, identify, evaluate and/or diagnose
            Passengers’ existing or deteriorating mental health conditions (like the Plaintiff);
            and/or (3) the medical team (including the mental health counselors) fail to recognize,
            identify, evaluate and/or diagnose passengers’ mental health conditions (like the
            Plaintiff) nor perform any diagnostic assessments and/or testing on passengers’ mental
            health conditions (like the Plaintiff) to recognize, identify, evaluate and/or diagnose
            Passengers’ existing or deteriorating mental health conditions (like the Plaintiff).

        b. Prior incidents involving Semester at Sea passengers who boarded the vessel with pre-
           existing and disclosed mental health conditions, including eating disorders, which did
           or should have revealed: (1) the mental health counselors aboard the vessel did not
           coordinate, implement or evaluate the total mental health care of passengers, like
           Plaintiff; (2) the mental health counselors fail to recognize, identify, evaluate and/or
           diagnose passengers’ mental health conditions (like the Plaintiff) nor perform any
           diagnostic assessments and/or testing on passengers’ mental health conditions (like the
           Plaintiff) to recognize, identify, evaluate and/or diagnose Passengers’ existing or
           deteriorating mental health conditions (like the Plaintiff); and/or (3) the medical team
           (including the mental health counselors) fail to recognize, identify, evaluate and/or
           diagnose passengers’ mental health conditions (like the Plaintiff) nor perform any
           diagnostic assessments and/or testing on passengers’ mental health conditions (like the
           Plaintiff) to recognize, identify, evaluate and/or diagnose Passengers’ existing or
           deteriorating mental health conditions (like the Plaintiff).

        c. Semester as Sea’s own customs, practices, policies procedures, reviews and/or
           performance evaluations of the medical team stationed aboard the vessel concerning
           their ability and/or competency to: (1) coordinate, implement or evaluate the total
           mental health care of passengers, like Plaintiff; (2) recognize, identify, evaluate and/or
           diagnose passengers’ mental health conditions (like the Plaintiff) and/or performance
           of diagnostic assessments and/or testing on passengers’ mental health conditions (like
           the Plaintiff) to recognize, identify, evaluate and/or diagnose Passengers’ existing or
           deteriorating mental health conditions (like the Plaintiff); and/or (3) recognize, identify,
           evaluate and/or diagnose passengers’ mental health conditions (like the Plaintiff)
           and/or perform any diagnostic assessments and/or testing on passengers’ mental health
           conditions (like the Plaintiff) to recognize, identify, evaluate and/or diagnose
           Passengers’ existing or deteriorating mental health conditions (like the Plaintiff).

    37. At all times material hereto, the statements were so made or disseminated with the intent

 or purpose, either directly or indirectly, of inducing passengers, like the Plaintiff, to rely on the


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 statements and act by purchasing tickets for the subject voyage, as evident by the statements and

 descriptions set forth in paragraphs 12-17 above.

    38. At all times material hereto, the Plaintiff justifiably relied on the representations made by

 Semester at Sea when Plaintiff purchased her ticket for the subject voyage. The Plaintiff’s reliance

 on Semester at Sea’s representations was justified considering that Plaintiff was a resident of

 Georgia, and Semester at Sea, with its principal place on Colorado, was in the business of offering

 educational voyages , mainly to college students like Plaintiff, for over fifty (50) years, from which

 it earned hundreds of thousands of dollars a year (or more). As a result, Semester at Sea was in a

 much stronger position to identify the potential dangers and/or inequities that passengers (like

 Plaintiff) could encounter when participating in the subject voyage. The Plaintiff therefore

 justifiably relied upon Semester at Sea to accurately advise Plaintiff concerning the excursion

 providers and/or the subject excursion. The Plaintiff’s reliance upon Semester at Sea’s

 representations was also justified because Semester at Sea made all arrangements for the subject

 voyage; Semester at Sea marketed the subject voyage using its website and company logo; and/or

 Plaintiff’s exclusive contacts concerning the subject voyage was solely with Semester at Sea.

 Further, had Semester at Sea not made the foregoing representations, the Plaintiff would have

 made a different decision in deciding to participate in the subject voyage.

    39. The above acts and/or omissions caused and/or contributed to Plaintiff’s injuries because

 the Plaintiff would not have suffered her injuries outlined above but for such acts and/or omissions.

    40. At all times material hereto, Defendant knew of the foregoing conditions causing Plaintiff’s

 incident and resulting injuries and did not correct them, or the conditions existed for a sufficient

 length of time so that Defendant, in the exercise of reasonable care under the circumstances, should

 have learned of them and corrected them.


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    41. As a direct and proximate result of the negligence of Defendant, Plaintiff was injured about

 her body and extremities, suffered physical pain, mental anguish, loss of enjoyment of life,

 disability, disfigurement, aggravation of any previously existing conditions therefrom, incurred

 medical expenses in the care and treatment of Plaintiff’s injuries, suffered physical handicap, lost

 wages and Plaintiff’s working ability has been impaired. The injuries are permanent or continuing

 in nature, and Plaintiff will suffer the losses and impairments in the future. In addition, Plaintiff

 lost the benefit of Plaintiff’s education, cruise, and transportation costs.

        WHEREFORE, the Plaintiff demands judgment for all damages recoverable under the

 law against Defendant and demands trial by jury.

 Dated: December 16, 2019                                Respectfully submitted,

                                                         LIPCON, MARGULIES,
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